Case 3:17-cv-00072-NKM-JCH Document 465-28 Filed 04/11/19 Page 1 of 2 Pageid#:
                                   4511




       EXHIBIT 28
Case 3:17-cv-00072-NKM-JCH Document 465-28 Filed 04/11/19 Page 2 of 2 Pageid#:
                                   4512




                      C      10 0 @nbcchicaqo · 23h                                                    V

                 Charlottesville suspect charged with first degree murder for allegedly
                 ramming a car into a group of protesters




                     Charlottesville Suspect Charged With 1st-Degree Murder
                     The man accused of ramming a car into a crowd of people protesting a
                     white nat ionalist rally in Charlottesville, Virginia, this summer now face ...
                     nbcch1cago.com


                 0     14       tl.       14       C   47


                 Vanguard America
                 @VanAmOfficial                                                 (    Follow     =      V




        Replying to til 1bcchicago

        First degree murder for not hitting Heyer with
        his car.
        7:03 PM - 14 Dec 2017


        1 Retweet G Likes


        0             t1 1            (        6       El
